A.N. Graff filed on May 2, 1945, his final account as administrator of the estate of Lars Engebretson, deceased. Martin Engebretson and Ingebor Marie Hill appeared in county court and contested the allowance of items in the account. From the determination of the county court they appealed to the circuit court. The administrator also appealed. The circuit court made findings of fact and conclusions at law and entered judgment modifying the determination of the county court. The parties have appealed from such portions of the judgment of the circuit court as are adverse to them. The assignments of error relate to the sufficiency of the evidence to support certain findings of fact. It would serve no useful purpose to detail the evidence. We have carefully examined the record and conclude that there is ample evidence to sustain the findings of the trial court.
The judgment is affirmed without costs.